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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA and the
COMMONWEALTH OF MASSACHUSETTS

Plaintiffs, ex rel.
LISA WOLLMAN, M.D.

Plaintiff-Relator,

Vv.

THE GENERAL HOSPITAL CORPORATION
(d/b/a the Massachusetts General Hospital),
THE MASSACHUSETTS GENERAL
HOSPITAL’S PHYSICIAN’S

ORGANIZATION and PARTNERS
HEALTHCARE SYSTEM, INC.

Defendants.

 

 

Civil Action 15-11890-ADB

AMENDED COMPLAINT

JURY TRIAL DEMANDED

 

 

 
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I. INTRODUCTION

1. This case concerns the many occasions when MGH orthopedic surgeons, with no
disclosure to patients—let alone informed consent—booked two or three surgeries, each lasting
three hours or more, for different patients. The surgeries were scheduled to start within 15-30
minutes of one another. This often meant an unwitting patient was left fully anesthetized—
unconscious, paralyzed, intubated, dependent on a ventilator to breathe—for longer than medically
necessary, often in the care of trainees, without the backup of a properly qualified surgeon, despite
legal requirements. Operating surgeons often failed to document adequately their presence for the
critical parts of each surgery, as required. These derelictions violate the standards established as a
condition of payment by the federal government and the Commonwealth of Massachusetts,
including Medicare and Medicaid.

2. This practice became common in 2000 after MGH! appointed a new chief of the
Department of Orthopaedics (“the Department”) and charged him with increasing revenue by the
Department: he did this by introducing new financial incentives for the surgeons to generate profits
by performing more surgeries.

3, Between 2010 and 2015 Relator, Lisa Wollman, M.D. (“Dr. Wollman’) was the
treating anesthesiologist for patients whose treating surgeons engaged in concurrent surgeries. She
bore witness to patients placed under anesthesia longer than medically necessary and treating
surgeons double tasked (or more) without proper backup or the medical record documentation

necessary for billing and patient treatment.

 

' The Defendants are: The General Hospital Corporation (d/b/a the Massachusetts General
Hospital), (“the Hospital”), the Massachusetts General Hospital’s Physician Organization
(““MGHPO”) and Partners Healthcare System (“Partners”) (collectively “Defendants” or “MGH”).

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4. Dr. Wollman, a highly-respected anesthesiologist with a Medical Degree from
Einstein Medical School, brings this gui tam case because she believes in the principle enshrined
in the American Medical Association’s (“AMA”) Principles of Medical Ethics that “a physician
shall be dedicated to providing competent medical service with compassion and respect for human
dignity”; and “ta physician shall deal honestly with patients and colleagues, and strive to expose
those physicians deficient in character or competence, or who engage in fraud or deception.”

5. CMS? and Massachusetts regulations provide that the teaching attending physician
must be present for the critical or key elements of each surgery. He or she may only leave the first
surgery when the key or critical elements are completed. (Residents or fellows may finish the non-
critical parts.)> Surgeries in compliance with this rule are often called overlapping surgeries. Even
after the teaching attending has left, CMS requires him/her to have arranged for another qualified
surgeon to be immediately available to assist the resident in the first case should the need arise.*
CMS will not pay for surgeries where the key or critical elements of each surgery take place at the
same time (generally called concurrent surgeries), Nor should they; a patient, already anesthetized,
should not have to wait for her surgeon to complete the key elements of another surgery.>

VIOLATIONS

6. From at least 2006 to the present, Defendants in conspiracy with a core group of

 

Centers for Medicare & Medicaid Services (“CMS”)
3 CMS Manual System, Pub 100-04 Medicare Claims Processing (Transmittal 2303) (Sept. 14,
2011) (hereafter “CMS 2011 Claims Manual”) at 100.1.2 (Surgical Procedures) A (available at:

 

https://www.cims.gov/Regulations-and-
Guidance/Guidance/Transmittals/Downloads/R2303CP.pdf, (last viewed on May 16, 2017)); 130
CMR ¥ 450.275(D)(4)(a).

4 Td.

> As noted on its website -- http://www.massgeneral.org/overlapping-surgery/about.aspx -- MGH
continues to mislead the public and patients by conflating concurrent and overlapping surgeries
which are not the same as explained by CMS guidance.

 
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orthopedic surgeons working at MGH, caused the submission of false claims for reimbursement
to government payers, in violation of the federal False Claims Act and the Massachusetts False
Claims Law.° Specifically, Defendants billed or caused others to bill public payers for surgeries
that do not conform in material respects to Medicare and Medicaid rules designed, inter alia, to
protect patient safety. These violations caused improper billing of Medicaid and Medicare for
concurrent surgeries in which:

e the patient’s surgeon — the teaching physician — is not present during the majority of the
surgery, including the “key and critical” portions;

e the patient is left alone with a resident or fellow during surgery at times when his/her
surgeon is involved in another surgery and no other qualified teaching physician is made
immediately available to assist, if needed or in time of emergency;

e the patient is administered anesthesia, which is not medically reasonable or necessary,
while waiting — sometimes for an hour or more — for his/her surgeon (the teaching
physician) to conclude work in another surgery and scrub in;

e the patient has not given valid consent to the concurrent surgery because MGH’s written
informed consent documents fail to mention that the surgeon will be involved in another
surgery at the same time;

e the surgeon has failed to appropriately document concurrent surgeries; and

e Defendants knew (and still know) that they have been overpaid by Medicare and Medicaid
in connection with the unlawful requests for payment, but have not taken appropriate steps
to satisfy obligations owed to government payers.

7. Virtually every concurrent surgery MGH billed to Medicare and Medicaid is
marked (and compromised) by at least one or more of the violations detailed above because
MGH’s policies and practices — driven by the desire to increase profits — ensure that such
derelictions occur including, but not limited to:

e encouraging and/or failing to discipline teaching or attending physicians who bill

government payers when they are not present during the majority of the surgery nor readily
available when residents or fellows are performing the surgery;

 

631 U.S.C. § 3729 et seq. and M.G.L. c. 12, § 5B ef seq. (respectively).
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e failing to ensure that another teaching physician is available to assist patients when they
are left alone with a resident or fellow during concurrent surgeries;

e designing patient consent forms which conceal facts regarding the surgeon’s decision to
conduct two or more surgeries at the same time;

e encouraging, ignoring, and/or failing to audit patient charts for false attestations by
teaching physicians, used to support false billing statements;

e adopting hospital rules in 2012, which were purportedly designed to address the concerns
expressed by members of the Medical Staff about the practice of booking concurrent
surgeries and leaving trainees without appropriate supervision by a teaching surgeon and
to curb billing abuses, but which instead largely ratified the unlawful practices;

e ignoring, marginalizing, retaliating against or forcing out physicians, including Relator,
who complained about MGH's practice of double or triple booking, including patient harm
caused by such practices;

e providing monetary rewards for physicians who engage in concurrent surgery; and

e suppressing an internal investigation conducted by MGH about the above unlawful
practices.

8. In sum, these intentional and systemic failures caused and continue to cause
Defendants routinely to submit false claims for surgeries and unreasonable and unnecessary
anesthesia services to be billed to government payers, which pay for a significant proportion of
orthopedic surgeries annually. MGH orthopedic surgeons performed surgery on many Medicare

and Medicaid patients.’

 

7 Nationally, Medicare was the primary payer for 63.3% of all total knee replacements and
58.2% of total hip replacements in 2000, 54.7% of total knee replacements and 52.8 percent of
total hip replacements in 2009. See, American Academy of Orthopedic Surgeons press release,
March 14, 2014, 2.5 Million Americans Living with an Artificial Hip, 4.7 Million with an
Artificial Knee, at http://newsroom.aaos.org/media-resources/Press-releases/25-million-
americans-living-with-an-artificial-hip-47-million-with-an-artificial-knee.htm (last viewed April
24, 2017). Something like 22% of those aged 65 and over (far more than younger people)
develop (shoulder) rotator cuff tears, many of which require surgical repair. Lauren Wessel,
Joshua Sykes, Jason B. Anari, and David Glaser, Indications and Techniques for Double-Row
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2 Had federal, state, and other government sponsored employee health care programs
known that MGH’s surgical procedures, as outlined above, were not eligible for reimbursement,
they would not have reimbursed Defendants for such procedures.

10. In order to redress the violations, on behalf of the United States of America and the
Commonwealth of Massachusetts, Relator Dr. Wollman brings this gui tam Amended Complaint
against Defendants alleging federal and state false claims act violations arising from orthopedic
surgical services provided to patients at MGH who are/were eligible to receive health care
coverage provided by publicly funded insurance plans, including Medicare, Medicaid, Tricare and
state employee health care plans (collectively "government payers" or "government health plans”).
Il. PARTIES

11. Relator Lisa Wollman, M.D., is a citizen of the Commonwealth of Massachusetts.
She is a graduate of the University of Pennsylvania and of the Albert Einstein College of Medicine
of Yeshiva University, Bronx, New York, and is licensed to practice medicine in Massachusetts.
She is board-certified in Anesthesiology and has practiced medicine as an anesthesiologist since
1990. Relator was in residency training from 1990 to 1993. In 1995, Dr. Wollman received a
Certificate of Added Qualifications in Critical Care Medicine. She is the sole or contributing author
of several peer-reviewed published papers and book chapters in anesthesiology. From 1993 until
February 2015, she was employed as an anesthesiologist by Defendant MGH, in Boston,
Massachusetts, and served as faculty (from 1995 to 2015). Relator disclosed the allegations to the
government alleged herein prior to filing her initial complaint.

12. Defendant General Hospital Corporation (d/b/a Massachusetts General Hospital)

 

Fixation, in Elite Techniques in Shoulder Arthroscopy: New Frontiers in Shoulder Preservation
211 (John D. Kelly, IV, ed., 2016).
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(“the Hospital”) is a non-profit corporation, and a Harvard-affiliated teaching hospital, with a
stated "commitment to advancing care through pioneering research and educating future health
care professionals." MGH is "the largest teaching hospital of Harvard Medical School" and it touts
its work to "prepare [] future health care professionals and train [] providers in innovative
therapies." It offers "specialized residencies in each of its multidisciplinary care centers and
clinical departments."® As for its clinical work, MGH states that it “offers sophisticated diagnostic
and therapeutic care in virtually every specialty and subspecialty of medicine and surgery ... in
four health centers in the Boston area."? For many decades, MGH has held itself out to the public
as a center of excellence. MGH works with its physician's organization, the Massachusetts General
Physicians Organization, to bill for clinical services and compensate members of its Medical Staff,
who often are technically employed by the MGPO. MGH's principal address is 55 Fruit Street,
Boston, Suffolk County, Massachusetts 02114.

13. Defendant the Massachusetts General Physicians Organization (““MGPO”) is a
private corporation organized under the laws of the Commonwealth of Massachusetts, located at
55 Fruit Street, Boston, Suffolk County, Massachusetts 02114, and, at times relevant to this action,
David Torchiana, M.D. served as its Chairman and Chief Executive Officer. In March of 2015,
Dr. Torchiana became the President and CEO of MGPO. On information and belief, also at times
relevant, Peter Slavin, M.D., served on the MGPO’s Board of Directors. On information and
belief, working with MGH, the MGPO was and is instrumental in billing for medical services and
compensating members of the Medical Staff at MGH.

14, Defendant Partners Healthcare System, Inc. (“Partners”) is a non-profit

 

® See www.massgeneral.org/education/default.aspx.
* http://www.massgeneral.org/about/overview.aspx.

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corporation, with a principal address at 800 Boylston Street, Suite 1150, Boston, Suffolk County,
Massachusetts 02199. According to its 2013 filing with the Massachusetts Health Policy
Commission, Partners is the parent organization of an integrated health system founded by
Brigham and Women's Hospital and Massachusetts General Hospital. In addition to these two
academic medical centers, Partners includes community and specialty hospitals, a managed care
organization, community health centers, a physician network, home health and long-term care
services, and other health-related entities. Relevant here, Partners Office of Graduate Medical
Education oversees residency programs, including the Harvard Combined Orthopaedics Residency

Program (““HCORP”), at MGH.

Hi. JURISDICTION AND VENUE

19. Relator brings this action on behalf of herself and the United States for violations
of the False Claims Act, 31 U.S.C. §§ 3729-3733 and on behalf of the Commonwealth of
Massachusetts, pursuant to Mass. Gen. Laws Ch. 12, § 5B ef seq.

16. This Court has federal subject matter jurisdiction over this action pursuant to 28
U.S.C. § 1331 and 31 U.S.C. § 3732 and supplemental jurisdiction over the counts relating to
Mass. Gen. Laws Ch. 12, § 5B ef seq. pursuant to 28 U.S.C. § 1367 and 31 U.S.C. § 3732.

17. This Court has personal jurisdiction over Defendants, pursuant to 31 U.S.C. §
3732(a) because Defendants can be found in and transact business in this District. In addition, the
acts prohibited by 31 U.S.C. § 3729 occurred in this District. 31 U.S.C. § 3732(a),

18. Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) because Defendants
transact business in this District and numerous acts proscribed by 31 U.S.C. § 3729 occurred in
this District.

19. Relator's claims and this Amended Complaint are not based upon prior public
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disclosures of allegations or transactions in a federal criminal, civil, or administrative hearing in
which the Government is already a party, or in a congressional, Government Accountability
Office, or other federal report, hearing, audit, or investigation, or from the news media, as
enumerated in 31 U.S.C. § 3730(c)(4)(A).!°

20. To the extent that there has been a public disclosure unknown to the Relator, the
Relator is the "original source" under 31 U.S.C. § 3730(e)(4)(B). The Relator has independent
material knowledge of the information on which the allegations are based and has voluntarily
provided the information to the Government before filing this gui tam action based on that

information. /d.

IV. STATUTORY AND REGULATORY PROVISIONS APPLICABLE
TO DEFENDANTS' FALSE CLAIMS

A. BACKGROUND

21. Defendants serve as the institutional sponsors for a number of residency programs
accredited by the Accreditation Council of Graduate Medical Education ("ACGME"), Relevant
here, the ACGME lists MGH as the institutional sponsor for the HCORP, while Partners and MGH
provide salary and benefits to HCORP residents. These residents are physicians with M.D. degrees
who come to MGH and other Harvard-affiliated teaching hospitals to train an additional five years
in orthopedics, their area of specialty.

22. At any given time, approximately 50 physicians train through HCORP. MGH's
attending physicians, who hold Harvard Medical School (“HMS”) faculty appointments, are

charged with the training of HCORP residents and with supervising the care residents give MGH

 

'0 To the extent that conduct alleged in this amended complaint occurred prior to March 23, 2010,
the prior versions of the False Claims Act may be applicable (i.e., 31 U.S.C. § 3730(€), as amended,
October 27, 1986, and May 20, 2009).
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patients.

23. MGHalso trains fellows (individuals who have received their M.D.s and completed
residencies) in orthopedic subspecialties including shoulder, spine, trauma and sports medicine.

24. As providers of Graduate Medical Education ("GME"), Defendants receive
substantial payments from the United States government for resident physician!’ training and
salaries though direct and indirect graduate medical education payments under Medicare Part A.
In addition, MGH receives funding from other federal payers including the Departments of
Defense and Veterans’ Affairs, and some state Medicaid programs (collectively with payments
under Medicare A “GME funds”) to support their work in training residents.'?

oO. Fellows are often supported by GME funds as well.

26. The GME funds received from federal sources for graduate medical education are
significant. In 2010, for example, Medicare contributed $9.5 billion to teaching hospitals in the
United States to support the training of about 100,000 residents.'? In addition, MGH receives
funding to cover the cost of salaries and other overhead associated with resident training. MGH

may bill Medicare Part B for the services (such as surgeries) rendered by teaching physicians on

 

'l A resident is a medical school graduate engaged in in-depth training in a medical specialty,
which may last from 3-5 years depending upon the specialty. Residents are to be supervised by
teaching physicians, also called “attending physicians," who approve their decision-making.
According to the ACGME, a "resident" is "[a]ny physician in an accredited graduate medical
education program, including interns, residents, and fellows." The ACGME defines a "fellow"
as physician in a program of graduate medical education accredited by the ACGME who has
completed the requirements for eligibility for first board certification in the specialty. The term
‘subspecialty residents’ is also applied to such physicians. Other uses of the term "fellow"
require modifiers for precision and clarity, e.g., “research fellow." See AGME Glossary of
Terms (Glossary of Terms, July 1, 2013); http://acgme.org/acgmewcb/Portals/O/PFAssets/
Program Requirements/ab_ACGMEglossary.pdf.

'2 Medicare Financing of Graduate Medical Education, Intractable Problems, Elusive Solutions,
Rich, Eugene C. et al., J. Gen, Inter. Med., 17; 283-292 (2002).

'3 The Uncertain Future of Medicare and Graduate Medical Education, Ingelhart, John K., New
Eng. J. of Med., 365; 14, p. 1340 (2011).
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its faculty incident to the instruction of residents, provided that all of Medicare and Medicaid rules
are followed.

B. GOVERNMENT HEALTH CARE PROGRAMS

D7, The federal and state governments, through Medicare and Medicaid, including
MassHealth, are among the principal payers responsible for reimbursing Defendants for surgical
services. Medicare is a federal government health program that primarily benefits the elderly and
the disabled. It was created by Congress in 1965 when it adopted Title XVIII of the Social Security
Act. Medicare is administered by CMS, which is an agency of the Department of Health and
Human Services (“HHS”).

28. Medicare Part A covers the cost of inpatient hospital services and post-hospital
skilled nursing facility care, and medical insurance. Medicare Part B covers the cost of the
physician's services such as services to patients who are hospitalized, if the services are medically
necessary and personally provided by the physician.

29. CMS establishes rules for the day-to-day administration of Medicare. CMS
contracts with private companies to handle day-to-day administration of Medicare.

30, CMS, through contractors, maintains and distributes fee schedules for the payment
of physician services. These schedules specify the amounts payable for defined types of medical
services and procedures.

31. Hospitals generally are reimbursed under Medicare Part A on a reasonable cost
basis for services provided to Medicare beneficiaries. Resident salaries are included among the
costs for which hospitals are reimbursed under Part A, thus, services provided by residents
typically cannot be billed under Medicare Part B.

32. As a Harvard-affiliated teaching hospital, engaged in the training of medical

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students, residents and fellows ("trainees"), MGH is eligible to be reimbursed for the teaching
activities of clinical faculty physicians (also referred to herein as "teaching physicians"), Teaching
hospitals may also properly bill under Medicare Part B for medical services of attending physicians
in limited circumstances where the attending physician is directly involved in providing patient
services.

33, Congress created Medicaid at the same time it created Medicare in 1965 by adding
Title XIX to the Social Security Act. Medicaid is a public assistance program that provides
payment of medical expenses primarily for low-income patients. Funding for Medicaid is shared
between the federal and the state governments. The federal government also separately matches
certain state expenses incurred in administering the Medicaid program. While specific Medicaid
coverage guidelines vary from state to state, Medicaid's coverage is generally modeled after
Medicare's coverage. According to CMS, "[w]hen services are furnished through institutions that
must be certified for Medicare, the institutional standards must be met for Medicaid as well." iat

34, The Federal Employees Health Benefits Program ("FEHBP") provides health
insurance coverage for more than 8 million federal employees, retirees, and their dependents.
FEHBP is a collection of individual health care plans, including Blue Cross and Blue Shield plans,
Government Employees Hospital Association, and Rural Carrier Benefit Plan. FEHBP plans are
managed by the U.S. Office of Personnel Management.

35. TRICARE is a federal program which provides civilian health benefits for military

personnel, certain military retirees, and their families. TRICARE is administered by the

 

14 See https://www.cms.gov/Medicare/Provider-Enrollment-and-
Certification/CertificationandComplianc/index.html?redirect=/certificationandcomplianc/02_asc
s.asp (last visited April 25, 2017).

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Department of Defense and funded by the federal government.

36. At all relevant times to the Amended Complaint, applicable TRICARE regulations
relating to coverage of claims by providers and physicians have been substantially similar in all
material respects to the applicable Medicare provisions described above. Medicare, Medicaid, and
TRICARE, FEHBP and other similar federal and state medical insurance programs are referred to
collectively herein as "government payers."

C. MEDICARE AND MEDICAID REIMBURSEMENT RULES AND
CERTIFICATIONS

1. MEDICARE'S PAYMENT FOR SERVICES OF ATTENDING PHYSICIAN
SURGEONS IN A TEACHING SETTING

37. To participate in the Medicare Program, hospitals enter “provider agreements” with
the HHS Secretary. See 42 U.S.C. § 1395cc. The Medicare Program pays the hospital directly for
covered inpatient and outpatient services provided to Medicare beneficiaries except for any
deductible or coinsurance, which are collected from the beneficiaries, Jd.

38. When submitting claims for reimbursement to the Medicare or Tricare, the provider
is required on CMS Form 1500 to certify, inter alia, that: 1) the information on this form is true,
accurate and complete; 2) sufficient information is provided to allow the government to make an
informed eligibility and payment decision; 3) the claim complies with all applicable Medicare
and/or Medicaid laws, regulations, and program instructions for payment; and 4) the services on
this form were medically necessary.'* The form further requires the provider to certify that the
services on the form were “personally furnished by me or were furnished incident to my
professional service by my employee under my direct supervision, except as otherwise expressly

permitted by Medicare or TRICARE.” Jd.

 

15 CMS Form 1500 (available at: https://www.cms.gov/Medicare/CMS-lorms/CMS-

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Forms/Downloads/CMS1500.pdf, last visited Apr. 25, 2017).
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39, In a teaching setting like MGH, in order to receive payment under Part B for
services performed by a physician, the service must meet one of the following criteria: (a) the
services are personally furnished by a physician who is not a resident; or (b) the services are
furnished by a resident in the presence of a fully-licensed, teaching physician. 42 C.F.R. §
415.170.

40. If a resident participates in a service furnished in a teaching setting, the service is
eligible for a physician fee schedule payment “only if a teaching physician is present during the
key portion of any service or procedure for which payment is sought.” 42 C.F.R. § 415.172(a).

Al. In the case of surgical, high-risk, or other complex procedures — such as all the
procedures at issue in this Amended Complaint — the teaching physician must be present during
all critical portions of the procedure and immediately available to furnish services during the entire
service or procedure. 42 C.F.R. § 415.172(a)(1).

42. If a teaching physician engages in two surgeries that overlap, the CMS Medicare
Claims Processing Manual states, “[tJhe critical or key portions may not take place at the same
time. When all of the key portions of the initial procedure have been completed, the teaching
surgeon may begin to become involved in a second procedure.” Emphasis Added, CMS 2011
Claims Manual at 100.1.2 (Surgical Procedures) A.

43. Moreover "[d]uring non-critical or non-key portions of the surgery, if the teaching
surgeon is not physically present, he/she must be immediately available to return to the procedure,
i.e., he/she cannot be performing another procedure." Medicare Claims Processing Manual,

100.1.2-A Surgical Procedures at 153-155 (Jan. 4, 2010)!° (emphasis added).

 

'6 Available at https://www.cms.vov/Regulations-and-
Guidance/Guidance/Manuals/downloads/clm104c12.pdf (last viewed on May 16, 2017).

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44, When a teaching physician is participating in second surgical procedure and “not
present during non-critical or non-key portions of the [prior] procedure ... he/she must arrange for
another qualified surgeon" to immediately assist the resident in the other case should the need
arise.” CMS 2011 Claims Manual at 100.1.2 (Surgical Procedures) A. The resident should not be
conducting the surgery alone.

45, As summarized in the chart appended to the Senate Finance Committee Report,
“Concurrent and Overlapping Surgeries: Additional Measures Warranted” (Dec. 6, 2016),'® CMS
defines concurrent surgeries as those where the critical or key parts of two surgeries are performed
by the same teaching physician at the same time. The teaching physician is not allowed to bill for
such surgeries. Overlapping surgeries are permitted as follows “[The] teaching physician must be
present during the critical or key portions of both procedures. The teaching physician may become
involved in a second procedure when the key portions of the initial procedure have been completed.
If the teaching physician is not present during non-critical and non-key portions and is participating
in another surgical procedure, she/he must arrange for another qualified surgeon to immediately
assist in the other case should the need arise.” Jd. at 19, Otherwise CMS will not pay. The Senate
Report notes that the American College of Surgeons (ACS) confirmed and clarified CMS’s
guidelines in its own clinical guidelines in April 2016. As the Report notes, the ACS guidelines
reflect what is necessary for patient safety (pp.4-5).

46. The teaching physician may not submit for reimbursement under his/her name in

 

'7 CMS regulations require participating hospitals to “assure that personnel are licensed or met
other applicable standards that are required by State or local laws.” 42 C.F.R. §482.11(c)
(Condition of participation; Compliance with Federal, State and local laws).

'8 See page 19 of the Appendix (hereafter “2016 Senate Finance Committee Report.”) Available
at www.tinance.senate.gov/imo/media/doe/Concurrent%20Surgeries%20Report%20Final pdf.

 

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the case of three concurrent surgical procedures; here “the role of the teaching surgeon ... in each
of the cases is classified as a supervisory service to the hospital rather than a physician service to
an individual patient and is not payable under the physician fee schedule.” CMS 2011 Claims
Manual” at 100.1.2 (Surgical Procedures) at A. 2.

47, CMS policy expressly limits payment to services for which there is documentation
demonstrating the appropriate level of services required by the patient. See Medicare Carriers
Manual, Part 3 CMS Pub. 14-3 (Rev. 1780); 42 C.F.R. § 415.172 et seq.; 60 Fed. Reg. 63124-01,
1995 WL 723389 (F.R.).

48, When a teaching physician seeks reimbursement for a service involving a resident
in the care of his/her patients “it must be identified as such on the claim” and is not payable unless
it complies with the Claims Processing Manual. CMS 2011 Claims Manual at 100.1.8 (Physician
Billing in the Teaching Setting) at B.

49. Moreover, the “teaching surgeon must personally document in the medical record
that he/she was physically present during the critical or key portion(s) of both procedures.” 42
C.F.R. § 415.172.; CMS 2011 Claims Manual at 100.1.2 (Surgical Procedures) A.2.

50. In sum, the teaching physician must appropriately document his/her involvement
in the surgery when the resident performs elements of the surgery in the presence of, or jointly
with, the teaching physician. The documentation must include sufficient information about the
work performed during key portions of both procedures in the notes so that a “reviewer may clearly
infer that the teaching physician was immediately available to return to either procedure in the

event of complications.” Goldberg v. Rush Univ. Med. Ctr., 929 F. Supp. 2d 807, 823-24 (N. D.

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Ill. 2013) (interpreting 2002 Medicare Claims Processing Manual).!° Billing for a surgery that
does not comply with the above Medicare/Medicaid rules is a false claim. /d.

51. Medicare and Medicaid providers are required to make restitution to the Medicare
and Medicaid Programs when overpayments are identified unless the provider is without fault. See
42 US.C. § 1320a-7b(a)(3); see also 42 C.F.R. 405.350 et seq.; 42 C.F.R. § 489.20(b); OIG
Compliance Guidance for Hospitals, 63 Fed. Reg. 8987, 8998 (Feb. 23, 1998).

2. MEDICAID'S PAYMENT FOR SERVICES OF ATTENDING PHYSICIAN
SURGEONS IN A TEACHING SETTING

52. The Massachusetts Medicaid (“MassHealth”) rules and regulations are similar to
the federal rules, but the regulations, although consistent with the intent of their federal
counterparts, more clearly define the necessary role of the teaching physician in any operative
procedure submitted for reimbursement.

53. MassHealth Policy Manual, in the section entitled “Covered Services,” states that
it “will pay for medical services ... performed in a teaching setting” if certain enumerated
requirements are met, including the following:

e In performance of surgery services the “teaching physician is responsible for the
preoperative, intra-operative, and postoperative care of the [MassHealth] member;”

e “The teaching physician must be scrubbed and physically present during the key portion
of the surgical procedure;”

e “During the intra-operative period in which the teaching physician is not physically
present, he or she must remain immediately available to return to the procedure, if
necessary. He or she must not be involved in another procedure from which he or she
cannot return;” and

e “Ifthe teaching physician leaves the operating room after the key portion(s) of the
surgical procedure or during the closing of the surgical site to become involved in another

 

'? 1996 Rules § 15016(C)(3)(a)(2) of the Medicare Claims Processing Manual (Transmittal
1780)(November 22, 2002). See, https://www.cms.gov/Regulations-and-
Guidance/Guidance/Transmittals/downloads/R1780B3.pdf (last visited Apr. 25, 2017).

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surgical procedure, he or she must arrange for another teaching physician to be
immediately available to intervene as needed. The designee must be a physician
(excluding a resident) who is not involved in or immediately available for any other
surgical procedure.”

Emphasis Added. 130 CMR 4 450.275(D) and (D)(4).

54. MassHealth regulations define “teaching setting,” “resident,” and “teaching
physician” as follows:

(1) Resident — an individual who participates in an approved
Graduate Medical Education (GME) program, including interns
and fellows. A medical student is never considered a resident.

(2) Teaching Physician — a physician (not a resident) who involves
residents in the care of his or her patients. Where applicable and
appropriate, the use of the phrase ‘teaching physician’ will be
construed to include teaching podiatrists and teaching dentists.

(3) Teaching Setting — a setting in which there is an approved
GME residency program in medicine, osteopathy, dentistry, or

podiatry.
130 CMR ¥ 450.275(A)(1)-(3).

55. MassHealth will not reimburse for concurrent surgeries unless the teaching
physician is present during the “key portions of both operations.” 130 CMR 4 450.275(D)(4)(a).
The “key portions must not occur simultaneously. When all of the key portions of the first
procedure have been completed, the teaching physician may initiate his or her involvement in a
second procedure.” Jd.

56. MassHealth regulations require the teaching physician to “personally document the
key portions of both procedures in his or her notes to demonstrate that he or she was immediately
available to return to either procedure as needed.” Id. (emphasis added). These documentation
requirements, like the rules related to billing for surgeries provided in a teaching setting, are

conditions of payment and, therefore, failure to comply renders the claim un-reimburseable. 130

CMR ¥ 450.275(D).

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3. MEDICARE REIMBURSEMENT RULES PERTAINING TO
REIMBURSMENT OF ANESTHESIA

57. | Medicare reimburses anesthesia practitioners for the period of time during which
they are “present with the patient.” Medicare Claims Processing Manual at “S0-Payment for
Anesthesia Services” (Rev. 3583, 08-12-16). Specifically, the billing period or “anesthesia time”
begins “when the anesthesia practitioner begins to prepare the patient for anesthesia services in the
operating room or an equivalent area and ends when the anesthesia practitioner is no longer
furnishing anesthesia to the patient, that is, when the patient may be placed safely under
postoperative care.” Jd. Furthermore, anesthesia time is a “continuous” time block and the actual
amount of time spent with the patient is “reported on the claim” for payment. Jd. For computing
payment, anesthesia time is divided into 15-minute increments and rounded up to one decimal
place. Jd.

58. Administering anesthesia to patients while they wait for extended periods for their
surgeon to scrub in from another surgery — that is intentionally scheduled and conducted at the
same time — is not reimbursable. This is because “no payment may be made [under the Medicare
statute] for any expenses incurred for items or services which ... are not reasonable and necessary
for the diagnosis or treatment of illness or injury to improve the functioning of a malformed body
member.” 42 U.S.C. § 1395y(a)(1)(A) (emphasis added).

59. It is not reasonable or necessary — and it is dangerous — to place patients under
anesthesia without medical justification. MGH on its website quotes its own “world renowned
anesthesiologist and computational scientist” Emery N. Brown, M.D., Ph.D., “[o]ur objective is to
precisely control the brain circuits so that the anesthetic state exists only for the time that it is
needed, is rapidly turned off and the patient recovers immediately with a clear head and is pain

free.” (emphasis added).

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4. MEDICARE REIMBURSEMENT RULES PERTAINING TO INFORMED
CONSENT

60. Ensuring that Medicare and Medicaid patients have given adequate informed
consent, prior to medical procedures, is a condition of participation in the Medicare program. See
generally, 42 C.F.R. § 482.13 (Condition of participation: Patient’s rights). Obtaining proper
informed consent is a/so a condition of payment. Specifically, the CMS State Operations Manual
states that “[h]ospitals are required to be in compliance with the federal requirements set for the
Medicare Conditions of Participation (COP) in order to receive Medicare/Medicaid payment.”
(Emphasis Added) CMS — State Operations Manual — Regulations and Interpretive Guidelines for
Hospitals (Rev. 151; 11-20-15).

61. Among other requirements, CMS COPs include numerous informed consent rules
designed to protect Medicare and Medicaid patients. For example, patients must have
involvement, infer alia, in their own plan of care and be offered the ability to refuse treatment. 42
C.F.R. § 482.13(b)(1) & (2). Medicare and Medicaid patients also have the “right to receive care
in a safe setting.” 42 C.F.R. § 482.13(c)(2). A “properly executed” informed consent form must
be included in each patient’s chart prior to surgery. 42 C.F.R. § 482.51(b)(2)(Condition of
participation: Surgical services); see also 42 C.F.R. § 482.24(c)(2)(B)(v) (Condition of
participation: Medical record services).

62. CMS’s adoption of interpretive guidelines for informed consent highlights the
importance of compliance and the centrality of appropriate informed consent to participation in

the payment under Medicare. 2007 CMS Hospital Interpretive Guidelines for Informed Consent,

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extensively revised in 2007, state that a “well designed consent process” would, among other

things, include:?°

° A description of the proposed surgery, including the
anesthesia to be used;

e The indications for the proposed surgery;

e Material risks and benefits for the patient related to the
surgery and anesthesia, including the likelihood of each,
based on the available clinical evidence, as informed by the
responsible practitioner’s clinical judgment. Material risks
could include risks with a high degree of likelihood but a
low degree of severity, as well as those with a very low
degree of likelihood but high degree of severity;

e Treatment alternatives, including the attendant material
risks and benefits;

e The probable consequences of declining recommended or
alternative therapies;

e Who will conduct the surgical intervention and administer
the anesthesia;

° Whether physicians other than the operating practitioner,
including but not limited to residents, will be performing
important tasks related to the surgery, in accordance with
the hospital’s policies. Important surgical tasks include:
opening and closing, dissecting tissue, removing tissue,
harvesting grafts, transplanting tissue, administering
anesthesia, implanting devices and placing invasive lines;

o For surgeries in which residents will perform important parts of
the surgery, discussion is encouraged to include the following:

 

*9 April 13, 2007 CMS “Revisions to the Hospital Interpretive Guidelines for Informed

ay

 

Certification/SurveyCertificationGenInfo/downloads/SCLetter07-17.pdf (last visited Apr.
25, 2017).

 

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e That it is anticipated that physicians who are in
approved post graduate residency training programs
will perform portions of the surgery, based on their
availability and level of competence;

e That it will be decided at the time of the surgery
which residents will participate and their manner of
participation, and that this will depend on the
availability of residents with the necessary
competence; the knowledge the operating
practitioner/teaching surgeon has of the resident’s
skill set; and the patient’s condition; and

e Whether, based on the resident’s level of
competence, the operating practitioner/teaching
surgeon will not be physically present in the same
operating room for some or all of the surgical tasks
performed by residents.

(Emphasis Added).

D. THE FALSE CLAIMS ACT AND THE MASSACHUSETTS FALSE
CLAIMS LAW

63. The federal False Claims Act and the Massachusetts False Claims Law
provide that any person who (1) knowingly presents or causes another to present a false
or fraudulent claim for payment or approval, or (2) knowingly makes, uses, or causes to
be made or used, a false record or statement material toa false or fraudulent claim is
liable for a civil penalty of between $5,500 and $11,000*' for each such claim, plus three
times the amount of the damages sustained by the government. 31 U.S.C. § 3729(a)(1 (A)
& (a)(1)(B); M.G.L. ¢.12, §§ 5B (1) & (2).

64. These statutes also both contain a “reverse-false-claims” provision, which

hold liable persons or corporations who knowingly retain overpayments from the

 

21 As adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990, Pub. L. No. 101-

410 section 5 (Oct. 5, 1990),104 Stat. 890.
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government, 31 U.S.C. § 3729 (a)(1)(G); M.G.L. c.12, §§ 5B (8).
V. SPECIFIC ALLEGATIONS OF DEFENDANTS' FALSE CLAIMS

A. FALSE CLAIMS FOR CONCURRENT SURGERIES CONDUCTED
WITHOUT ADDITIONAL COVERAGE BY QUALIFIED TEACHING
PHYSICIANS

65. In or about 2010, MGH assigned Relator to provide in-patient anesthesia

services to surgical patients in its Department of Orthopaedic Surgery.”? In the course of
providing anesthesia to patients undergoing surgery, Relator became aware of the practice
within this Department of booking two or three surgeries to occur at the same time
("concurrent surgeries" also "double booking" and "triple booking") with the same
attending surgeon listed as the lead on each surgery. The practice necessitates that those in
training at MGH, residents and fellows, conduct some or all of the surgery outside of the
presence of the teaching physician.

66. Over time, Relator learned that certain orthopedic surgeons regularly

booked two surgeries concurrently in the morning and then two surgeries concurrently in

the afternoon. In fact, she learned that it was not uncommon for a single orthopedic surgeon

at MGH to schedule three surgeries concurrently, including two or more complicated or

 

2 Among her duties as an attending physician at MGH and a member of the Harvard Medical
School ("HMS") faculty, Dr. Wollman trained Harvard medical students, MGH/HMS residents,
and fellows in anesthesia. From 1993 to 2010, Dr. Wollman primarily provided anesthesia services
to patients undergoing cardiac, thoracic or out-patient surgery performed by MGH surgeons. In
2010, Dr. Wollman was selected, along with other anesthesiologists, to work on a dedicated floor
providing in-patient anesthesia for surgical patients in the MGH Department of Orthopaedic
Surgery. During her tenure working as an anesthesiologist alongside surgeons in this Department,
Dr. Wollman gained first-hand knowledge of MGH's deliberate strategy and willful conspiracy to
engage in and then cover up violations of billing rules and regulations established by Government
payers, including Medicare and Medicaid, with regard to orthopedic surgeries performed at MGH.
She reported such violations to MGH but was reprimanded, silenced, and marginalized for her
efforts. Dr. Wollman decided to resign her employment at MGH in 2015 to take a position at
another healthcare institution in the Boston area.

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high risk procedures, such as total shoulder replacement, cervical, lumbar and spine
surgeries and the surgical repair of non-emergent fractures.

67. The procedures did not merely overlap on their margins; they were instead
scheduled at or about the same time, making it impossible for the teaching physician to
assure that he could be physically present and ready to participate in the key or critical
parts of each surgical procedure.

68. | MGH's orthopedic operating schedules make clear that numerous surgeons
are routinely performing concurrent surgeries in the morning and afternoon hours. Relator
reviewed these schedules frequently when providing anesthesia to patients who were
concurrently booked with the same surgeon and when she provided regional block
services”? for all patients undergoing surgery on days when she served on rotation as the
attending anesthesiologist.

69. For example, on October 27, 2011, Relator observed that Surgeon Aw
scheduled a removal of a right shoulder prosthesis at 9:45 A.M. and a total shoulder joint
replacement at 10:00 A.M. Each of these surgeries normally requires about 3 hours, and
on this day, Relator observed that both patients were put under general anesthesia about
the same time and Relator's patient (patient 1) — who was over 65 years old and, thus,

Medicare eligible — was on medication the entire time to sustain his blood pressure.

 

23 On a rotating basis, Relator served as the "blocking attending," that is, as the member of the
Anesthesia Department who administered the regional blocks for all the patients undergoing
orthopedic surgery. When an anesthesiologist serves as the "block attending," she/he is required
to review patient charts before administering the anesthetic block and in order to appropriately

schedule the 10-12 patients under her care.

24 Relator has substituted the names of the surgeons with an alias, such as Surgeon A, and will
provide the names to Defendants by letter following service of this Amended Complaint. Relator

has done so to protect the interests of patients.

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Surgeon A did not even scrub for patient 1's surgery until an hour and a half after patient
1 was rendered unconscious, paralyzed, intubated and put on a ventilator.?° During the
time Surgeon A performed surgery on patient 1 — for about an hour and fifteen minutes —
he was not immediately available for patient 2's surgery. Relator noticed that Surgeon A
attested that he participated in the entire surgery for patient 1 even though it was false.
Relator reported this to the compliance department at MGH. The attestation was later
corrected but Surgeon A was never reprimanded to Relator's knowledge.

70, Likewise, on April 12, 2012, Surgeon A concurrently scheduled the right
shoulder scope acromionplasty of a woman to whom Relator provided anesthesia (Patient
1) and a shoulder replacement of another woman (Patient 2) in another room. Patient 2's
procedure took approximately four hours and fifteen minutes to perform and Surgeon A
was seeing other patients. Accordingly, Patient 1's surgery was essentially performed by a
fellow. Relator noted that Surgeon A scrubbed in for just nine minutes of Patient 1's
surgery. Patient 1 was asleep for an excessive time waiting for Surgeon A to arrive. Both
of the patients involved here were over 65 and, thus, Medicare eligible.

71. Weeks later, on May 3, 2012, Surgeon A had concurrent surgeries running
while he was sceing patients in his office in another building on MGH's campus. To no
avail, Relator complained to high level officials about his conduct.

72. On January 15, 2015, Surgeon C had fracture repair surgeries on two
separate patients that both began around noon and lasted for three hours. Both patients
were in their seventies and most likely Medicare patients. In short, it was impossible for

Surgeon C to be immediately available for both surgeries and, here, the likelihood of

 

*> This is what general anesthesia consists of.

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complications for elderly patients is increased.

73. Concurrent scheduling was a routine occurrence during Relator’s tenure in

MGH’s Department of Orthopaedics and continued, to her knowledge, at least until 2015.

74. MGH's operating room schedules make clear that MGH orthopedic

surgeons often perform multiple major surgeries simultaneously. Relator observed that

MGH's orthopedic operating schedule for numerous dates in 2011 through 2013

demonstrates at least the following instances of surgeons covering multiple surgeries at

once,

 

Date

Surgeon

Schedule

 

July 7, 2011

Surgeon C

9:53 a.m., Room 21, Right Total Knee
Arthroplasty/Replacement; Duration: 3:07 hours

10:25 a.m., Room 22, Right Femur Trochanteric nail
insertion; Duration: 2:32 hours.

 

May 19, 2011

Surgeon A

9:45 a.m., Room 20; Left Total Shoulder Joint
Replacement, Primary, Uncomplicated; Duration 4:15
hours

9:45 a.m.; Room Unknown; Left Shoulder Anatomic
Inverse Arthroplasty; Duration 4:45 hours

2:00 p.m., Room 20; Left Total Shoulder Joint
Replacement; Duration 4:00 hours.

2:30 p.m., Room 23, Left Proximal Humerus Fracture
Orif; Duration 4:30 hours.

 

October 3, 2011

 

 

Surgeon D

 

8:08 a.m.; Room 72, Lumbar Laminectomy Less than 3
Levels - Laminectomy L3-4; Duration 2:52 hours;

8:15 a.m., Room 64; Cervical Posterior Decompression
and Fusion - Cervical Posterior Spinal Fusion and
Decomp C2-C-5 (Latex Allergy); Duration 4:51.

 

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11:57 a.m., Room 72, Removal Lumbar Spine Hardware -
1) Post Hardware Removal 2) ANT L5 CORP. 3) PSF
TIO-ILIUM; Duration: 8:03hours.

2:08 p.m., Room 64; Coccygectomy; Duration
1:35 hours

 

October 27, 2011

Surgeon A

9:49 a.m.; Room 67; Right Shoulder Reverse Prosthesis
Hardware Removal - Right Shoulder Open Removal of
Prosthesis, Prostalac Placement; Duration 6:34 hours.

9:50 a.m.; Room 66; Right Total Shoulder Joint
Replacement, Primary, Uncomplicated; Duration 3:44
hours,

2:42 p.m.; Room 66; Left Total Shoulder Joint
Replacement, Primary, Uncomplicated; Duration 4:14
hours.

 

October 31, 2011

Surgeon B

8:04 a.m.; Room 69; Left Elbow Fracture Orif- Hardware
Removal Left Elbow; Duration 3:18 hours

8:35 a.m.; Room 70; Incision & Drainage (I&D)
-- Right Leg/Wound VAC Dressing Change -- Duration
1:10 hours

 

November 3, 2011

Surgeon A

9:47 a.m.; Room 66, Right Total Shoulder Joint
Replacement, Primary, Uncomplicated; Duration 4:48
hours

9:57 a.m.; Room 67, Left Total Shoulder Joint
Replacement, Primary, Uncomplicated; Duration: 3:46
hours.

2:31 _p.m.; Room 67, Right Should Hardware Removal -
Right Shoulder I&D, Hardware Removal, Antibiotic
Spacer Placement; Duration 3:32 hours.

3:25 p.m.; Room 66; Left Pectorals Major Transfer:
Duration: 3:03 hours

 

 

November 7, 2011

 

Surgeon A

 

7:35 a.m.; Room 69; Right Shoulder Excisional
Debridement; Duration 2:21 hours

8:00 a.m.; Room 67; Left Pectoralis Major Transfer;
duration 3:52 hours.

10:41 a.m.; Room 69; Right Total Shoulder Joint
Replacement, Primary, Uncomplicated Duration 4:44
hours

 

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12:15 p.m.; Room 67; Right Shoulder Anatomic Inverse
Arthroplasty; Duration 4:45 hours

 

November 8, 2011

Surgeon E

7:40 a.m.; Room 70; Left Distal Radius Fracture Closed
Reduction vs. Orif; Duration 1:52 hours.

8:47 a.m., Room 69, Left Revision of Total Hip
Arthroplasty All Components Possible Autograft or
Allograft (27134); Duration 5:32 hours.

11:55 a.m.; Room 70; Right Total Hip Arthroplasty
Revision; duration 4:34 hours.

3:20 p.m.; Room 69; Right Ankle Fracture Or if; Duration
2:36 hours

 

November 22, 2011

Surgeon E

7:50.a.m.; Room 69; Right Hamstring Repair- Right
Proximal Hamstring Repair; Duration: 2:05 hours.

8:00 a.m.; Room 70; Left Total Hip Arthroplasty
Revision; Duration: 4:39 hours.

 

March 5, 2012

Surgeon D

7:43 a.m.; Room 64; Lumbar Posterior Decompression
with Fusion FSF& Decompression L2-S]; Duration 8:53
hours.

7:40 a.m.; Room 72; Lumbar Posterior Decompression
with Fusion FSF& Decompression L4-S1; Duration 4:56
hours.

1:25 p.m.; Room 72; Lumbar Posterior Decompression
with Fusion FSF& Decompression L4-S1; Duration:
4:23 hours.

 

March 5, 2012

Surgeon B

3:14 p.m.; Room 70; Left Open Reduction Internal
Fixation of
Intertrochanteric/Petrochanteric/Subtrochanteric Femoral
Fracture with Intramedullary Implant, Possible
Interlocking Screws and/or Cerclage; Duration 1:51 hours.

3:36 p.m.; Room 69, Left Open Reduction Internal
Fixation of Trochanteric Fractures with Intramedullary
Implant Possible Plate/Screw or Cerclage (27245) - Short
TEN; Duration: 1:55 hours.

 

 

March 27, 2012

 

Surgeon lz

 

—|

11:48 a.m.; Room 70; Right Open Reduction Internal
Fixation of Trochanteric Fractures with Intramedullary
Implant Possible Plate/Screw or Cerclage (27245);
Duration 2:45 hours.

 

 

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F 12:04 p.m.; Room 69; Right Open Reduction Internal
Fixation of Femoral Supracondylar/Transcondylar
Fracture without Intercondylar Extension with Possible
External Fixation (27511); Duration: 3:27 hours.

3:15 p.m.; Room 70; Left Hemiarthroplasty Hip (27125);
Duration 2:36 hours.

4:20 p.m.; Room 69; Left Open Interna! Fixation of Tibial
Shaft Fracture with Intramedullary Implant Possible
Interlocking Screws or Cerclage (27759); Duration 1:46
Z hours.

April 12, 2012 Surgeon D | 9:35 a.m., Room 73; Lumbar Posterior Decompression
with Fusion - PSF & Decompression; Duration: 4:10

 

9:40 a.m.; Room 72; Lumbar Anterior Posterior Fusion-
| ASF L5-S1 PSF L5-S1; Duration 5:57 hours.

May 29, 2012 Surgeon E | 1:21 p.m.; Room 70; Left Femur Fracture Orif: Duration
4:13 hours.

 

2:00 p.m.; Room 65; Left Leg Hardware Removal - Screw
Removal at Tib Fib; Duration: 51 minutes.

 

August 6, 2012 Surgeon D | 7:42 a.m.; Room 64; Lumbar Anterior Fusion - ASF L5-S]
Removal of Lumbar Hardware L2- L5; Duration: 7:20
hours,

8:00 a.m.; Room 72; Cervical Anterior Corpectomy -
Cervical Anterior Corpectomy C3-C6 Cervical PSF &
Decompression C2-C6; Duration 11:37 hours.

March 12, 2013 Surgeon E | 7:33 a.m.; Room 70, Right Open Reduction Internal
Fixation of
Intertrochanteric/Pertrochanteric/Subtrochanteric Femoral
Facture with Intramedullary Implant, Possible interlocking
Screws and/or Cerclage; Duration 1:51 hours.

 

7:45 a.m.; Room 63; Left Ankle Fracture Orif (27816);
Duration 1:42 hours.

 

 

 

 

 

75, These are but a few examples of the concurrent surgery practice that continued at
least until 2015. In each of the examples above, at least one or more of the patients involved in
concurrent surgeries was 65 years of age or older, meaning Medicare eligible patients were

involved in the submissions of claims for these specific procedures.

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76. MGH admits on its website that in 2014 approximately 5,500 surgeries “had some
case overlap” but claims that only about 3% of the total surgeries (or about 1,110 surgeries)
involved overlap of the “actual surgical procedures.” MGH Frequently Asked Questions about
Concurrent/Overlapping Surgeries (“MGH FAQs”).”° According to MGH, “procedural overlap [in
concurrent surgeries] ... usually involves the resident or fellow making the incision or closing the
incision while the attending [teaching] surgeon is caring for a patient in another operating room.”
Id. The schedules above show that concurrent surgeries were not staggered in such a way that
minimal “procedural overlap” was possible. In some cases, surgeries began and ended at
approximately the same time; while some were of such long duration that it was not possible for
the teaching physician to be present for significant time periods. MGH has publicly championed
its concurrent surgery practice even though it provides no benefit to the patient receiving surgery
or to the taxpayers who fund Medicare and Medicaid.

77. For those 65 and older, the risks of surgery are most acute and are only compounded
by the hospital’s failure to follow Medicare and Medicaid rules, including those requiring
additional coverage of concurrent surgeries by another qualified teaching physician.

78. Indeed Relator learned problems frequently arose when patients needed prompt
attention from a surgeon who was otherwise engaged. Because MGH violated (and continues to
violate) Medicare and Medicaid rules requiring another qualified teaching physician to be on
stand-by to assist residents and fellows in surgeries where the teaching physician had moved on to
another surgery,”’ residents and fellows were left without supervision in concurrent surgeries

performed in the Department of Orthopaedics.

 

26 MGH FAQs available at hitp://Awww.massgeneral.org/news/assets/pdf/surgery-faq.pdf (last
visited Apr. 25, 2017).
*7 CMS 2011 Claims Manual at 100.1.2 (Surgical Procedures) A; 130 CMR  450.275(D)(4).

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79. In no concurrent orthopedic surgery in which Realtor was required to participate
during her tenure at MGH, was another qualified and available teaching physician designated or
utilized. Likewise, when reviewing medical charts and surgical records while at MGH in the
course of her duties, Relator has seen no evidence of compliance with the Medicare and Medicaid
rules mandating such practice. Instead, in emergency situations the hospital scrambled to find
someone qualified to take over from a resident or fellow who had been abandoned by the teaching
surgeon.

80. Defendants’ violations have caused harm. Relator is aware of some emergency
situations that could have been avoided if the rules were followed but it was not profitable for
MGH or the teaching physicians themselves to cover for one another.

81. For example, Relator learned on one occasion that a shoulder fellow — left in an
operating room without supervision while the teaching physician was operating on another patient
in a second concurrently scheduled surgery — severed the axillary artery of the patient, requiring
transfusions and emergency repair by a vascular surgeon.

82. Relator is also aware that on the Friday after Thanksgiving 2013, a trauma
surgeon scheduled three concurrent surgeries. One of the three patients was a young woman
who was having a simple removal of hardware in her foot from a previous surgery. During her
surgery, she experienced cardiac arrest requiring cardiopulmonary resuscitation and transfer to
an intensive care unit. Meanwhile, the other two patients in the other rooms were under

anesthesia with no attending surgeon.”®

 

28 Also in or about 2015, a vascular surgeon engaged in concurrent booking resulted in patient
harm. When a resident filed a safety report, she was chastised for so doing. The practice has
occurred recently in the Department of Neurosurgery as well as in other MGH Departments over
time.

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83. The previous year, in 2012, MGH’s Department of Orthopaedics issued new rules
regarding concurrent surgery practices, but failed to adequately address the Medicare and
Medicaid rules requiring additional coverage of concurrent surgeries.

84. For example, MGH wrongly decided that a fellow — already engaged in the surgery
with the teaching physician before he left for another surgery — could serve as a back-up even
though fellows are not yet qualified or credentialed by MGH to perform the surgeries they are
learning and do not meet the MassHealth conditions of payment for at least two reasons.
Specifically, only a “teaching physician” may serve a back-up surgeon. 130 CMR {
450.275(A)(2). The regulations define a teaching physician as “a physician (not a resident) who
involves residents in the care of his or her patients.” Jd. Under the rules, fellows are considered
residents. 130 CMR { 450.275(A)(2). Moreover fellows, already involved in the surgery, do not
satisfy the temporal requirement of the rule that the back-up surgeon not be “involved in or
immediately available for any other surgical procedure.” 130 CMR § 450.275(D)(4)

85. Likewise, the federal regulations specify that a teaching physician will not be paid
if he is not present or immediately available to return to the surgery. 42 C.F.R. 415.172(a)(1).
Once the surgeon has left the first surgery and is engaged in another surgery, he cannot return to
the first surgery and receive payment. Specifically, "[dJuring non-critical or non-key portions of
the surgery, if the teaching surgeon is not physically present, he/she must be immediately available
to return to the procedure, i.e., he/she cannot be performing another procedure." Medicare Claims
Processing Manual, 100.1.2-A Surgical Procedures at 153-155 (Jan. 4, 2010) (emphasis added).
Therefore, virtually every claim submitted by MGH for concurrent surgeries to Medicare and

MassHealth is not payable and is a false claim.

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B. UNREASONABLE AND UNNECESSARY ANESTHESIA CLAIMS

86. Because Relator was routinely assigned to work with orthopedic surgeons who
scheduled concurrent surgeries, she witnessed first-hand compromised clinical care resulting from
concurrent booking.

87. Even where there were no major complications, otherwise healthy patients were
made unconscious, paralyzed, and intubated for an unnecessarily prolonged period of time
awaiting surgery,”’ needlessly risking their health and increasing costs to government payers,
which reimburse anesthesiologists by the amount of time spent with patients under anesthesia.
Often residents or fellows completed non-critical parts of the surgery and simply waited for the
teaching surgeon to continue with the critical parts.

88. For example, on April 22, 2013, Relator reported an incident where a patient had a
serious bronchospasm (a sudden constriction of air ways in the lungs) during ankle surgery,
occurring at the end of the day. Relator was the physician in charge of the patient's anesthesia
and noted that the surgery took over an hour longer than projected because the teaching surgeon,
Surgeon B, never appeared in the room. A fellow performed all of the procedures even though
they were scheduled to be performed by Surgeon B. Relator’s email to the OR Director asked,
"isn't he [Surgeon B] obligated to be there?"

89. Relator's supervisors, Jeanine Weiner-Kronish, M.D., the Chief of Anesthesia and

Critical Care, and James Rathmell, M.D., the Vice Chair, Department of Anesthesia and Critical

 

29\{GH’s informed consent form, dated October 2014, acknowledges and warns patients about the
unique risks associated with the use of anesthesia: If procedural sedation will be used during this
procedure to control my pain, I understand that this method of pain control has risks. These risks
include difficulty breathing that may require breathing support and decreased blood pressure. The
most common side effects are nausea and vomiting. In rare cases, there can be allergic reactions
or cardiac arrest (stopping of the heart), Lastly, I may have pain, even after using these
medications.

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Care, did not follow up on Dr. Wollman's concerns, except to threaten her by suggesting that she
had violated patient privacy and could face legal action. When she raised concerns to Dr. Peter
Dunn, MGH's Director of the Operating Rooms ("OR Director"), he too questioned Dr. Wollman's
motivation in reviewing charts when serving as a block attending, raising the possibility that the
hospital could accuse her of violating HIPPA and take disciplinary action against her,>?

90. The charge was specious. When an anesthesiologist serves as the "block attending,"
she/he is required to review patient charts before administering the anesthetic block and in order
to appropriately schedule the 10-12 patients under her care.

91, To be sure, while Dr. Wollman discharged her duties, she grew concerned about
the unnecessary prolonging of the anesthesia administered to a patient while waiting for a surgeon
who had booked more than one surgery concurrently. Dr. Wollman's expression of concern
certainly did not implicate HIPPA or constitute a failure to comply with its requirements.

92. The practice of billing for unreasonable and unnecessary anesthesia was not a
remote occurrence in MGH’s Department of Orthopaedics. Rather, it was commonplace and a
direct outgrowth of the concurrent surgery practice which, to succeed, required patients to be put
under general anesthesia waiting for their surgeon to arrive.*! For this reason, virtually every claim
by MGH for concurrent surgeries contains inflated charges for anesthesia services and is a false
claim,

C. FAILURE TO OBTAIN VALID INFORMED CONSENT

 

30 See generally Health Insurance Portability and Accountability Act of 1996 (HIPPA) privacy
regulations, 45 C.F.R. Part 160 and Subparts A and E of Part 164.

3! The situation is analogous to the following: Consider an airport with multiple gates and the gate
agents want to leave at 3 p.m. Hence the gate agents board all planes targeted for take-off between
2:30 p.m. and 6:00 p.m. at 2 p.m. — requiring the passengers sit on the planes parked the tarmac
waiting for take-off. The only distinction is that the air plane passengers are not under anesthesia
and are aware enough to complain.

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93. Over the years, Defendants have utilized various informed consent forms — which
are to be reviewed and signed by patients before surgery — but none has informed patients that
their surgeon would not be present during the entire surgery because the surgeon had intended to
perform another surgery at the same time.

94, Specifically, a consent form utilized by MGH that is dated July 24, 2001 only notes
that MGH “is an academic medical center and that residents, fellows and students in medical and
allied disciplines may participate in this procedure.”

95. By May 2013, after Relator and others had repeatedly raised concerns about the
failure to inform patients of the routine practice of concurrent surgery, MGH’s consent form had
evolved somewhat to add that “My doctor will be there for the important parts of my
procedure/surgery. My doctor will determine what other providers need to participate in my
procedure/surgery and care,” but there is still no mention that the surgeon will be out of the room
working in another surgery.

96. In response to ongoing concerns, yet another consent form was created: this one
included an exhaustive list of all physicians who conceivably could be involved in a patient's
surgery, including residents, and including physicians who might not even be present at the
Hospital on the date of the procedure. This kitchen sink approach to a consent form contained the
list of physicians but is not effective notice to patients, especially when presented to them at a time
when they are too ill or too worried about their impending surgeries to realize that they are
consenting to a revolving door approach to the surgery they reasonably believe will be done by the
attending physician who scheduled it and had examined them.

97. The current consent form, dated October 2014, is available on MGH’s website. It

also fails to mention that the surgeon may be working in two surgeries at the same time. It states:

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I understand that Massachusetts General Hospital (MGH) is a
teaching hospital. This means that resident doctors, doctors in a
medical fellowship (fellows) and students in medical, nursing and
related health care professions receive training here, and may take
part in my procedure/surgery. A team of medical professionals will
work together to perform my procedure/surgery. My doctor or an
attending designee will be present for all the critical parts of the
procedure/surgery, although other medical professionals may
perform some aspects of the procedure as my doctor or the attending
designee deems appropriate.

98. MGH also has no official policy requiring anyone at MGH to disclose concurrent
surgery to patients who are affected by the practice. While a 2012 MGH Policy: Criteria for
Concurrent Staffing of Two Operating Rooms (“2012 Policy”) suggests that various elements of
the surgery be discussed with patients, including that the attending (teaching) surgeon “may not
be present during non-critical portions of the case,” and “may not perform or be present in the
room for the entire case...” these discussions were not mandatory, not required to be
documented and, in fact, almost never occurred. The 2012 Policy notes discussions about the
surgeon’s whereabouts during surgery are left to the discretion of the attending physician “to the
extent [he] felt appropriate.” Relator has first-hand knowledge that most patients were never
told and did not otherwise know that their surgeon was scheduled to perform two or more
surgeries at the same time. To the contrary: patients routinely sought assurance from Dr.
Wollman that the attending physician with whom they had scheduled the surgery would be
present and involved in the case.

99. Instead of meeting the Hospital’s obligation of disclosure and informed consent,
MGH actively sought to conceal its concurrent surgery practice from patients. For example, when
Relator began her tenure in MGH’s Department of Orthopaedics, nurses indicated that it was the
Department’s practice, not to put patients in the same room (or in the same room without a

partition), in pre-operative phase, if the patients were going to be operated on at the same time by

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the same surgeon because the patients might become upset or not agree to surgery if they knew
the true facts.

100. Insum, the consent forms and MGH’s policies and practices fail to meet criteria set
out in the Medicare regulations, guidance documents, or state law and, therefore, surgeries billed
by MGH for all concurrent surgeries are false claims.

101. Specifically, as the 2016 Senate Finance Committee Report points out, at page 10,
CMS’s COPs and corresponding interpretive guidelines, among other things:

require hospitals to take certain steps to ensure that patients
consent to planned surgeries. For example, this guidance states that
a well-designed informed consent policy should include a
discussion of a surgeon’s possible absence during part of the
patient’s surgery, during which residents will perform surgical
tasks, and that the informed consent policy should assure the
patient’s right to refuse treatment.

102. Submitting claims for concurrent surgeries where valid informed consent has not
been obtained, much less documented in the patient’s file, is material. Defendant has failed to
provide full and proper informed consent with regard to the practices alleged herein because doing
so would have a natural tendency to influence or be capable of influencing a patient’s decision to
consent to surgery under Defendants’ practices. Because a patient is the initial gatekeeper for the
payment by any government third party payers, the matter of informed consent is material because,
inter alia, it has a natural tendency to influence, or be capable of influencing, the payment or
receipt of government money.

103. Along the same lines, failure to obtain informed consent violates long-standing
rules of ethics. According to the American Medical Association ("AMA"), "[a] surgeon who

allows a substitute to operate on his or her patient without the patient's knowledge or consent is

deceitful. The patient is entitled to choose his or her own doctor and should be permitted to

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acquiesce or refuse the substitution." (Emphasis added). See AMA Council on Ethical and Judicial
Affairs Opinion E-8.16 "Substitution of Surgeon without Patient's Knowledge or Consent." The
Ethics Opinion goes on to state:

Under the normal and customary arrangement with patients ... the

operating surgeon is obligated to perform the operation but may be

assisted by residents or other surgeons. With consent of the patient,

it is not unethical for the operating surgeon to delegate the

performance of certain aspects of the operation to the assistant

provided this is done under the surgeon's participatory supervision,

ie., the surgeon must scrub. If a resident or other physician is to

perform the operation under non-participatory supervision, it is

necessary to make a full disclosure of this fact to the patient, and

this should be evidenced by an appropriate statement in the consent.

Under these circumstances, it is the resident or other physician who

becomes the operating surgeon.

104. Likewise, Dr. Mininder S. Kocher in an article entitled Ghost Surgery: The Ethical
and Legal Implications of Who Does the Operation, J Bone Joint Surg. Am. 84: 148-150 (2002),
concluded that "[t]he substitution of an authorized surgeon by an unauthorized surgeon or the
allowance of unauthorized surgical trainees to operate without adequate supervision constitutes
‘ghost surgery.’ These practices are legally and ethically iniquitous. Ghost surgery flies in the face
of case law and violates an individual's right to control his or her own body and violates that
person's right to information needed to make an informed decision."

105, MGH submitted false claims to the government for al] Medicare/Medicaid patients
receiving surgery in tandem or concurrently with one or more other patients because the hospital
did not obtain valid informed consent from these patients.

D. FALSE AND INADEQUATE RECORD KEEPING

106. Inthe course of Relator’s duties, she was privy to the surgical records generated by

physicians performing concurrent surgeries. She noted that these records routinely failed to

provide an accurate accounting of the teaching surgeon’s involvement in the case, including the

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nature of the procedures deemed to be “key and critical,” the time in which he entered and exited
the surgery room, whether he was able to return to the surgery if necessary, and/or whether another
surgery was conducted at the same time.

107. Except in rare cases where the teaching surgeon was present for the entire
procedure, none of the records kept by teaching physicians at MGH would have allowed a regulator
to clearly infer that the teaching physician was immediately available to return to either procedure
in the event of complications.

108. Also as discussed above, none of the records contained the name of a back-up
teaching physician who was in fact available and qualified to take over if necessary. Instead, where
fellows were involved they were designated, in violation of Medicare and Medicaid rules, as the
back-up. Where residents were left alone, the records were silent. Failure to document
appropriately work on concurrent surgeries is a condition of payment. 42 C.F.R. § 415.172(b) and
130 CMR 450.275 (D)(Covered Services). MGH submitted false claims to the government for all
concurrent surgeries where the surgeon’s records do comply with regulations.

E. MGH WAS WELL-AWARE OF MEDICARE AND MEDICAID VIOLATIONS
AND RESULTING FALSE CLAIMS LIABILITY

109. When Dr. Wollman asked colleagues about the practice, she learned that prior
efforts to address the problem had been ignored. When Neelakatan Sunder, M.D., who held a post
of administrative leadership within the Department of Anesthesia, raised concerns, he was
removed from that post. Moreover, when Dennis Burke, M.D. a renowned orthopedic surgeon at
MGH, similarly tried to address the issue, he was rebuffed. Dr. Wollman added her voice, asking
questions about the practice and its impact within her own Department, she was ignored at first
and later threatened by her managers, as noted above, for delving into purportedly confidential

patient matters.

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110. In the spring of 2012, Relator felt obliged to raise her concerns to more senior
leadership.

111. In May of 2012, focusing in on the conduct of a particular surgeon, Surgeon "A"
Relator communicated by email to several high ranking administrators at the Defendant
institutions, including David Torchiana, M.D., former Chairman and Chief Executive Officer of
the MGPO (who recently left that position to become the President and Chief Executive Officer
of Partners); Peter Slavin, M.D., President and Chief Executive Officer of MGH; Keith Lillemoe,
M.D., MGH's Chief of Surgery; and Ann Prestipino, M.D., MGH Senior Vice President for
Surgical Anesthesia Services and Clinical Business Development. Then Chief of Orthopaedics,
Harry Rubash, M.D., was also made aware of her complaint.

112. Relator reported that she was in the process of preparing Surgeon A's patient for
surgery. The patient asked to see Surgeon A prior to the procedure and to being given anesthesia.
Relator sought out Surgeon A and learned that another patient had already been sedated in another
operating room, also awaiting surgery by the same Surgeon A. While both patients awaited surgery
(one already under anesthesia), Surgeon A was in another building on MGH's campus seeing yet
other patients. In reporting the incident, Relator wrote "I am aware of at least one and possibly
several cases where this same surgeon [Surgeon A] never scrubbed into the case; in one particular
case, the patient was the wife of a surgeon who came from the west coast specifically for ... [his]
surgical abilities." In response to Relator's email, Dr. Torchiana admitted that "[a]ttending
surgeons, including .... [Surgeon A] are obligated to be present for the critical parts of their cases"
and — seeking to assuage Relator — noted that MGH had begun an internal investigation of
concurrent booking to address concerns voiced by numerous MGH physicians.

113. Relator hoped that this process would address the problem quickly, as she believed

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"this issue of surgeon availability and presence in the OR [operating room] is not something that
can wait for a committee to resolve or can be ignored. Patients deserve honesty and the surgical
and anesthesia team should not be asked to participate in the deception that the surgeon is present
for the 'critical parts' of the case."

114. The "deception" to which Relator referred was MGH's role in concealing the
identity of the physicians performing the surgery — by failing to inform patients undergoing surgery
that their attending physician would not necessarily be in the room during most of the procedure
~and by too often falsifying and/or failing to adequately notate the medical records in conformance
with Medicare and Medicaid rules. Had MGH followed these rules, the medical records would
have revealed to the patient, at the very least, that his/her physician was absent.

115. Dr. Wollman learned that the investigation into the practices about which she had
expressed concern concluded in the spring of 2012; yet the results were not disclosed; and little
changed. While triple bookings were officially banned by a new written policy,** MGH did nothing
to ensure that teaching surgeons were present for key and critical parts of their cases, that they
were immediately available to residents needing assistance, as is required by the Medicare rules,
or that the surgical records accurately reflected who participated in the surgical procedure.

116. In fact, Dr. Wollman was obliged to report a triple booking by Surgeon A on June
28, 2012 to MGH supervisors. She wrote, "I thought that a surgeon could not be in three rooms

under any circumstances; I am not sure how this was able to be booked this way ... and [I] continue

 

32 "MIGH Policy: Criteria for Concurrent Staffing of Two Operating Rooms," was initially
announced to physicians in or around June 2012 and was purportedly designed to address the
concerns about concurrent booking, but the policy had no such effect. (Available at:
https://assets.documenteloud.org/documents/2484257/mgh-draft-policy.pdf (last visited Apr. 25,
2017)).

 

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to not be comfortable being put in this position."

117. Rather than disciplining Surgeon A or enforcing supervision rules hospital-wide,
MGH informed Relator that she would no longer be permitted to work on cases with Surgeon A.
When Relator questioned her supervisor, Robert Peloquin, M.D., MGH's Director of Orthopaedic
Anesthesia, he informed her that because of the "history of poor communications" between Relator
and Surgeon A, she was excluded from providing anesthesia to his patients. Yet, the only "poor
communication" between the two members of the Medical Staff occurred when Surgeon A
screamed at Relator for having him paged to meet his patient before surgery. Relator's exclusion
was merely pretext for keeping concurrent surgeries from further scrutiny.

118. Relator addressed her concern to Dr. Peter Dunn about MGH's decision to exclude
her from working with Surgeon A. She asked "what, if anything, has been done to date, to address
... [Surgeon A's] behavior and responses in the OR ... [?]" Dr. Dunn never responded, nor did
MGH. By excluding Relator from working with Surgeon A, Defendants assured that no other
complaints by Relator — at least with regard to Surgeon A — would surface.

119. Relator's concerns were mirrored by other well-respected health care professionals
including Dennis Burke, M.D.; an orthopedic surgeon on MGH’s Medical Staff and a member of
the HMS faculty who specializes in arthroplasty (total joint replacement) who has been honored
by the institution itself for his commitment to excellence in patient care.

120. Over time, Dr. Burke had made sure senior leadership within the Department of
Orthopaedic Surgery and within MGH, more generally, were aware of the practice of concurrent
surgery, its implications for patient care, and the integrity of MGH's medical records and billings.

121. On February 2, 2011, Dr. Burke reported his concerns to the MGH leadership,

writing Dr. Torchiana about a 91-year-old patient who bled to death shortly after having an elective

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surgical procedure. The attending orthopedic surgeon in charge was listed as the attending in
another operating room at the very same time. He also reported to Dr. Torchiana his concern about
a patient who had required emergency surgery, following an unsuccessful surgery by another
orthopedic surgeon at the hospital. Dr. Burke reported that the attending physician in charge of the
patient's first surgical procedure had also been listed as the attending in charge of patients in three
operating rooms concurrently. According to the anesthesiologist involved in the first procedure,
the attending surgeon was not immediately present for the critical stage of the surgery; nor did he
respond to repeated pages. It was only upon the insistence of the treating anesthesiologist that the
attending physician in charge of the patient's care appeared in the room. When a resident involved
in the procedure suggested that materials to be used in the procedure needed to be mixed again,
given the time lapse, the surgeon rebuffed the concern and proceeded.

122. Atthe time, Dr. Burke reported these events to Dr. Torchiana, he did so because he
had not received any indication from his own Department of Orthopaedics that the problems posed
by concurrent surgeries were being considered.

123. In addition to detailing certain specific cases where there was a significant risk that
patient harm resulted from the practice of concurrent surgery, on February of 2011, Dr. Burke
reported that, based on what he had learned, there was also a troubling pattern involving the
“apparent falsification of records by nursing and house staff that made it appear that a surgeon
scheduled simultaneously in two rooms performed both operations,"

124. Dr. Burke noted that he had learned that the records were not remotely accurate and
that there existed cases where the attending physician listed as the surgeon in charge of the
procedure "apparently never entered the second theater, no less performed that operation."

125. Dr. Burke specifically warned Dr. Torchiana in his February 2011 letter "not [to]

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rely on medical records for [a] compliance measure," as it was a “’running joke among some of us
that the phrase - 'I was present for the critical part of the operation and Dr So and So was
immediately available’ are cynical code words from the inattentive surgeon absent from his post.’"
Dr. Burke also argued that lying on patient records about the presence of surgeons "is unacceptable
from an ethical and moral perspective and bad behavior, when it is tolerated and encouraged
becomes normative and pervasive."

126. Like Relator, Dr. Burke also repeatedly raised the lack of informed consent inherent
in concurrent bookings, telling MGH administrators that patients would be shocked if they knew
that concurrent surgeries primarily or exclusively conducted by residents could occur at MGH. At
one meeting where Dr. Burke questioned the problems of informed consent, an MGH official
scoffed and told him not to worry because consent forms "weren't worth the paper they were
printed on."

127. Disregard of the concerns that Relator raised by MGH leadership and its physicians
group, the MGPO, is not surprising: Routine concurrent surgery was part of the plan for increasing
surgical volume when Dr. Rubash came on as the Chief of Orthopaedics at MGH in 2000, bringing
along colleagues of his from the University of Pittsburgh's Medical School where the business
model of concurrently booking surgeries was mainstreamed for the purpose of increasing revenues
to the university and individual physicians. Dr. Rubash, who remained until the Summer of 2016
the Chief of Orthopaedic Surgery at MGH and who remains still an endowed chaired professor at
Harvard Medical School, implemented a similar program at MGH by creating strong economic
incentives for attending MGH surgeons to increase their own compensation based, in part, on the
number of surgical procedures performed under their names, for which the Hospital received

reimbursement.

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128. Before Dr. Rubash's plan, surgeons were paid a salary, which was not specifically
and directly tied to billing or grants. That changed under Dr. Rubash. The Harvard Business
School chronicled the financial success of Dr. Rubash's physician incentive plan in a case study
published on October 31, 2005, entitled "Performance Pay for MGOA Physicians (B)." The case
study chronicles a significant rise in hospital revenues tied to the shift in compensation through
volume incentives for orthopedic surgeons. The case study demonstrates the sharp increase in
monetary remuneration that certain orthopedic surgeons enjoyed as a result of their surgical
volume. On information and belief, in large measure, this increase was a result of concurrent
surgeries. It appears from the study that certain orthopedic surgeons currently book surgeries to
increase their own compensation while not in fact increasing their personal workload, as they leave
residents to handle procedures under their name. For example, one orthopedic surgeon at MGH
earned approximately $1.9 million in one year at least, in part, because of routinely conducting
concurrent surgeries.

129. Concurrently running multiple surgical rooms under the name (and the billing) of
a single attending physician has substantially enriched MGH and certain orthopedic surgeons at
the expense of federal and state health care programs.

F, DEFENDANTS’ MEDICARE AND MEDICAID VIOLATIONS ARE
MATERIAL

131. The expectation that critical surgeries are performed by fully credentialed and
qualified physicians and that patients are fully informed as to all material elements of their
surgeries 1s at the very core of the regulatory scheme. Violation of these requirements is material
as that term is defined in the federal and state False Claims Acts and interpreted by the courts.

132. The centrality of these regulations is underscored, not only by their inclusion as a

condition of participation and prerequisite for reimbursement, but by extensive interpretive

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guidelines issued by CMS. For example, CMS was not content to leave limitations on concurrent
surgeries set forth in 42 C.F.R. § 415.170 and 42 C.F.R. § 415.172(a) open to interpretation by
MGH and other hospitals or providers. Rather, CMS provided extensive guidance on the
responsibilities of teaching physicians, explaining what surgical practices are and are not
permissible for overlapping surgeries. See supra §{ 32-51. Massachusetts did the same. See
supra {J 52-56. Defendants failed to adhere to this guidance.

133. Likewise, CMS emphasized the materiality of appropriate record-keeping by
providing detailed guidance on documentation (supra {| 47-50). Appropriate documentation is
critical as it helps ensure substantive compliance and allow detection of non-compliance with the
law when conducting overlapping surgeries. Similarly, CMS adopted interpretive guidelines
setting forth the contours of informed consent, and codes of medical ethics have long warned that
concurrent surgeries, in the manner conducted by defendants, are unethical.

134. Materiality is further underscored by the Government’s consistent action to punish
and deter the conduct at issue. As HHS personnel recently confirmed in the context of a
Congressional investigation, HHS Office of Inspector General (“HHS OIG”) extensively audited
billing practices at teaching hospitals in the past, and investigated allegations of whistleblowers
related to such practices. Indeed, between 1995 and 2004, HHS OIG reported that 36 teaching
hospitals settled False Claims Act or other similar cases related to these audits and investigations
between 1995 and 2004, for amounts in excess of $225 million.

135. | There have been at least 9 additional settlements by teaching hospitals involving
similar issues in more recent years. For example, in 2016, the Department of Justice entered into

a $2.5 million settlement with the University of Pittsburgh Medical Center (UPMC). Allegations

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included that some neurosurgeons submitted claims to Medicare without participating in or
supervising surgeries to the extent required.

136. No federal or state government payer has paid claims with actual knowledge that
Defendants violated governing regulations and conditions of payment or participation. As the First
Circuit has stated, “mere awareness of allegations concerning noncompliance with regulations is
different from knowledge of actual noncompliance.” U.S. ex rel. Escobar v. Universal Health
Servs., 842 F.3d 103 (1 Cir. 2016), As detailed herein, Defendants have acted to conceal the

nature of their concurrent surgeries from regulators, patients, and the public at large.

VI. COUNTS

COUNT I
Federal False Claims Act, 31 U.S.C. § 3729(a)(1)*®

137. All of the preceding allegations are incorporated herein.

138. This is a claim for treble damages and civil penalties under the False Claims Act,
31 U.S.C. § 3729(a)(1)(A).

139. By virtue of the conduct described above, Defendants knowingly caused to be
presented to Medicare, Medicaid, and other Government funded health insurance programs false
or fraudulent claims for the improper payment or approval of claims for: concurrent and/or
overlapping surgeries, which did not comply with Medicare and Medicaid rules; concurrent or
overlapping surgeries, which were not properly documented; concurrent and/or overlapping
surgeries where unreasonable and unnecessary anesthesia was provided to patients; and concurrent

and/or overlapping surgeries where valid informed consent was not obtained.

 

33 To the extent wrongdoing occurred prior to May 20, 2009, this amended complaint should be
deemed to include violations of the Federal False Claims Act prior to its recent amendments, e.g.
31 U.S.C. § 3729(a)(1)(2006).

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140. The United States, unaware of the falsity or fraudulent nature of the claims that
Defendants caused, paid for claims that otherwise would not have been allowed.

141. By reason of these payments, the United States has been damaged, and continues
to be damaged, in a substantial amount.

COUNT II
Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(B)*

142. All of the preceding allegations are incorporated herein.

143. This is a claim for treble damages and civil penalties under the False Claims Act,
31 U.S.C. § 3729(a)(1)(B).

144. By virtue of the conduct described above, Defendants knowingly caused to be made
or used false records or statements that caused false claims to be paid or approved by the United
States government.

145. The United States, unaware of the falsity or fraudulent nature of the claims that
Defendants caused, paid for claims that otherwise would not have been allowed.

By reason of these payments, the United States has been damaged, and continues to be damaged,
in a substantial amount.
COUNT III

Federal False Claims Act, 31 U.S.C. § 3729(a)(1)(C)*

146. All of the preceding allegations are incorporated herein.

147. This is a claim for treble damages and civil penalties under the False Claims Act,

 

34 To the extent wrongdoing occurred prior to May 20, 2009, this amended complaint should be
deemed to include violations of the Federal False Claims Act prior to its recent amendments, e.g.
31 U.S.C. § 3729(a)(2).

35 To the extent wrongdoing occurred prior to May 20, 2009, this Complaint should be deemed to
include violations of the Federal False Claims Act prior to its recent amendments, e.g. 31 U.S.C.
§ 3729(a)(3).

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31 U.S.C. § 3729(a)(1)(C).

148. Defendants entered into a conspiracy or conspiracies through their member
physicians, officers, and employees to defraud the United States by submitting and obtaining
approval and payment for false and fraudulent claims for health care services provided to
beneficiaries of federal health insurance programs, for among other things, concurrent and/or
overlapping surgeries, which did not comply with Medicare and Medicaid rules; concurrent or
overlapping surgeries, which were not properly documented; concurrent and/or overlapping
surgeries where unreasonable and unnecessary anesthesia was provided to patients; and concurrent
and/or overlapping surgeries where valid informed consent was not obtained.

149. The United States, unaware of the falsity or fraudulent nature of the claims that
Defendants caused, paid for claims that otherwise would not have been allowed.

150. By reason of these payments, the United States has been damaged, and continues
to be damaged, in a substantial amount.

COUNT IV
Federal False Claims Act, 31 U.S. C. § 3729(a)(1)(G)*®

151. All of the preceding allegations are incorporated herein.

152. This is a claim for treble damages and civil penalties under the False Claims Act,
31 U.S.C. § 3729(a)(1)(G).

153. By virtue of the conduct described above, Defendants knowingly made, used or
caused to be made or used false records or false statements that are material to an obligation to pay

or transmit money to the Government.

 

36 To the extent wrongdoing occurred prior to May 20, 2009, this Complaint should be deemed to
include violations of the Federal False Claims Act prior to its recent amendments, e.g. 31 U.S.C.
§ 3729(a)(7).

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154. Because Defendants have failed to reimburse the federal government for sums it
received unlawfully by virtue of the conduct described above, the United States has been damaged,
and continues to be damaged, in a substantial amount.

COUNT V

MASSACHUSETTS FALSE CLAIMS LAW, M.G.L. c. 12 § 5B (a)(1)

155. All of the preceding allegations are incorporated herein.

156. This is a claim for treble damages, consequential damages, and civil penalties
pursuant to the Massachusetts False Claims Law, M.G.L. c. 12 § 5B(a)(1).

157. By virtue of the conduct described above, Defendants knowingly caused to be
presented to government funded health insurance programs, including Medicaid, false or
fraudulent claims for the improper payment or approval of claims for: concurrent and/or
overlapping surgeries, which did not comply with Medicare and Medicaid rules; concurrent or
overlapping surgeries, which were not properly documented; concurrent and/or overlapping
surgeries where unreasonable and unnecessary anesthesia was provided to patients; and concurrent
and/or overlapping surgeries where valid informed consent was not obtained.

158. The Commonwealth of Massachusetts, unaware of the falsity or fraudulent nature
of the claims that Defendants caused, paid for claims that otherwise would not have been allowed.

159. By reason of these payments, the Commonwealth has been damaged, and continues
to be damaged, in a substantial amount.

COUNT VI

MASSACHUSETTS FALSE CLAIMS LAW, M.G.L. ec. 12, § 5B (a)(2)

160. All of the preceding allegations are incorporated herein.
161. This is a claim for treble damages, consequential damages, and civil penalties
pursuant to the Massachusetts False Claims Law, M.G.L. c. 12 § 5B(a)(2).

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162. By virtue of the conduct described above, Defendants knowingly caused to be made
or used false records or statements that caused false claims to be paid or approved by the
Commonwealth of Massachusetts.

163. The Commonwealth of Massachusetts, unaware of the falsity or fraudulent nature
of the claims that Defendants caused, paid for claims that otherwise would not have been allowed.

164. By reason of these payments, the Commonwealth has been damaged, and continues
to be damaged, in a substantial amount.

COUNT VII

MASSACHUSETTS FALSE CLAIMS LAW, M.G.L. 12, § 5B (a)(3)

165. All of the preceding allegations are incorporated herein.

166. This is a claim for treble damages, consequential damages, and civil penalties
pursuant to the Massachusetts False Claims Law, M.G.L. c. 12 § 5B(a)(3).

167. Defendants entered into a conspiracy or conspiracies through their member
physicians, officers, and employees to defraud the Commonwealth of Massachusetts
by submitting and obtaining approval and payment for false and fraudulent claims for health care
services provided to beneficiaries of state health insurance programs, for among other things,
concurrent and/or overlapping surgeries, which did not comply with Medicare and Medicaid rules,
concurrent or overlapping surgeries, which were not properly documented; concurrent and/or
overlapping surgeries where unreasonable and unnecessary anesthesia was provided to patients;
and concurrent and/or overlapping surgeries where valid informed consent was not obtained.

168. The Commonwealth of Massachusetts, unaware of the falsity or fraudulent nature
of the claims that Defendants caused, paid for claims that otherwise would not have been allowed.

169. By reason of these payments, the Commonwealth of Massachusetts has been

damaged, and continues to be damaged, in a substantial amount.

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COUNT VU
MASSACHUSETTS FALSE CLAIMS LAW, M.G.L. ¢. 12, § 5B (a)(9)

170. All of the preceding allegations are incorporated herein.

171.  Thisisaclaim for treble damages, consequential damages, and civil penalties under
the pursuant to the Massachusetts False Claims Law, M.G.L. c. 12 § 5B (a)(9).

172. By virtue of the conduct described above, Defendants knowingly made, used or
caused to be made or used false records or false statements that are material to an obligation to pay
or transmit money to the government.

173. Because Defendants have failed to reimburse the Commonwealth of Massachusetts
for sums it received unlawfully by virtue of the conduct described above, the Commonwealth of

Massachusetts has been damaged, and continues to be damaged, in a substantial amount.

VII. PRAYER FOR RELIEF
WHEREFORE, for each of these claims, the gui tam Relator requests the following relief
from each of the Defendants, jointly and severally, as to the federal and state claims:
A. Three times the amount of damages that the federal and state governments sustain
because of the acts of Defendants;
B. A civil penalty of not less than $5,500 and not more than $11,000 for each
violation of 31 U.S.C. §3729;37
C. A civil penalty of not less than $5,000 and not more than $10,000 per violation
plus consequential damages for claims encompassed by the Massachusetts

False Claim Law, pursuant to M.G.L. c. 12 § 5B(Q);

 

37 In June 30, 2016, the U.S. Department of Justice issued an interim final rule increasing civil
penalties to $10,781 to $21,563 for violations that occurred after November 2, 2015. See 81 F.R.
42491.

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G,

The Relator be awarded the maximum “relator’s share” allowed pursuant to 31
U.S.C. § 3730(d) and M.G.L. c, 12 § 5F(1) for collecting the civil

penalties and damages;

The Relator be awarded reasonable attorneys’ fees and costs pursuant 31
U.S.C.§ 3730(d) and M.G.L. c. 12 § SF (3);

Interest; and

Such further relief as the Court deems just and proper.

VU. JURY DEMAND

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby demands a

trial by jury.

Dated: June 7, 2017

Respectfully submitted,

Relator
Lisa Wollman, M.D.

 

 

a R. Studen (BBO# 483690)
LStuden@burnslev.com
BURNS & LEVINSON, LLP
125 Summer Street

Boston, MA 0211

Tel: (617) 345-3000

Reuben A. Guttman*
reuttmani@ebblegal.coni
Traci L. Buschner*
tbuschner@gbblegal.com
Elizabeth H. Shofner*
Ishother(@gbblegal.com
GUTTMAN, BUSCHNER

& BROOKS PLLC
2000 P Street, N.W., Suite 300

 

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* Admitted pro hac vice

Washington, D.C. 20036
Tel: (202) 800-3001

Justin S. Brooks*

jbrooks@ebblegal.com

GUTTMAN, BUSCHNER
& BROOKS PLLC

1701 Walnut Street

7th Floor

Philadelphia, PA 19103

Tel: (202) 800-3001

CERTIFICATE OF SERVICE

 

I hereby certify that a copy of the Amended Complaint was served upon the following

persons, this 7th day of June, 2017 via the means ident) ied below.

VIA CM/ECF

     

 

Tlaura R. Studen

 

The United States of America

 

United States Attorney General Jeff Sessions
United States Department of Justice

950 Pennsylvania Ave., N.W.

Washington, DC 20530

Sonya A. Rao, AUSA

Abraham R. George, AUSA

United States Attorney for the District of
Massachusetts

John Joseph Moakley U.S. Courthouse

1 Courthouse Way, Suite 9200

Boston, MA 02210

 

Ms. Joyce R. Branda

Deputy Director,

Commercial Litigation Branch
Fraud Section

U.S. Department of Justice
Ben Franklin Station

950 Pennsylvania Avenue
P.O. Box 261

Washington, D.C. 20530

 

 

 

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Commonwealth of Massachusetts

 

Attorney General Maura Healey
c/o Amy Crafts, AAG

Office of the Attorney General
One Ashburton Place

Boston, MA 02108-1698

(617) 727-2200

(617) 727-3251 (fax)

 

 

 

 

VIA HAND DELIVERY ON AGENT FOR SERVICE OF PROCESS

 

Defendants

 

Martin F, Murphy, Esq.
Foley Hoag LLP

155 Seaport Boulevard
Boston, MA 02210

 

 

 

 

 

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